Case 2:05-cr-20226-.]PI\/| Document 17 Filed 08/29/05 Page 1 of 3 Page|D 18_

IN THE UNITED sTATEs DISTRICT coURT away no
FoR THE wEsTERN DIsTRIcT oF TENNESSEE "' ""'°

wEsTERN DIvIsIoN 05 AU(; 29 AH 5» 1,3

HM€AS M. GOULD
CLEF!&` U.S. IHSTR!CI CCXBT

UNITED S'I`A'I'ES OF AMERICA W/DOFTN MEMPHS

Plaintiff,
Criminal No.°>_ - 2""7*°~5 Ml

(30-Da Continuance
AR¢Z¢.JES; BAKE/i’ y )

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL C‘ASE CONTINUANCE
A.ND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on FridaVl Seotember 23, 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

This document entered on the docket sheet in compliance
with Ru|e 55 and/or 32{b) FRCrF' on 3 ',, Q"'Qj /7

Case 2:05-cr-20226-.]PI\/| Document 17 Filed 08/29/05 Page 2 of 3 Page|D 19

so oRDEREn this 26th day of August, 2005.

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JO PHIPPS MCCALLA
ITED STATES DISTRIC'I` JUDGE

§;£;,,A~ /,;J/L,

Assistant United States Attorney

§><1¢
(./

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20226 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

